                Case: 1:22-cv-00284-MRB Doc #: 70 Filed: 05/24/22 Page: 1 of 7 PAGEID #: 850
                                                                                                     CLOSED
                                     U.S. District Court
                        Western District of North Carolina (Charlotte)
                   CIVIL DOCKET FOR CASE #: 3:17−cv−00010−MOC−DSC

Stevens v. AtriCure, Inc. et al                                Date Filed: 01/10/2017
Assigned to: District Judge Max O. Cogburn, Jr                 Jury Demand: Plaintiff
Referred to: Magistrate Judge David S. Cayer                   Nature of Suit: 376 Qui Tam (31 U.S.C. §
Cause: 31:3730 Qui Tam False Claims Act                        3729(a))
                                                               Jurisdiction: Federal Question
Plaintiff
Joel Stevens                                     represented by Charles H. Rabon , Jr.
also known as                                                   Rabon Law Firm, PLLC
John Doe                                                        413 S. Sharon Amity Rd
                                                                Suite C
                                                                Charlotte, NC 28211
                                                                704−247−3247
                                                                Fax: 704−208−4645
                                                                Email: crabon@usfraudattorneys.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                               James Avery Roberts , III
                                                               Lewis & Roberts, P.L.L.C.
                                                               P. O. Box 17529
                                                               Raleigh, NC 27619
                                                               919−981−0191
                                                               Fax: 919−981−0199
                                                               Email: jimroberts@lewis−roberts.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Matthew D. Quinn
                                                               Lewis & Roberts, PLLC
                                                               3700 Glenwood Ave., Suite 410
                                                               Raleigh, NC 27612
                                                               919−981−0191
                                                               Fax: 919−981−0199
                                                               Email: mdq@lewis−roberts.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Ross Brooks
                                                               The Brooks Law Firm LLC
                                                               173 Huguenot Street, Suite200
                                                               New York, NY 10801
                                                               914−821−6717
                                                               Fax: 914−363−8723
                                                               Email: ross@brooks−lawfirm.com
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                 Case: 1:22-cv-00284-MRB Doc #: 70 Filed: 05/24/22 Page: 2 of 7 PAGEID #: 851

                                                              Sally Blinken
                                                              The Brooks Law Firm
                                                              173 Huguenot Street, Suite 200
                                                              New Rochelle, NY 10801
                                                              914−821−6717
                                                              Fax: 914−363−8723
                                                              Email: Sally@Brooks−lawfirm.com
                                                              LEAD ATTORNEY
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED


V.
Defendant
AtriCure, Inc.                                   represented by Brandon Jacob Moss
                                                                Wiley Rein, LLP
                                                                1776 K Street NW
                                                                Washington, DC 20006
                                                                202−719−7554
                                                                Fax: 202−719−7049
                                                                Email: bmoss@wiley.law
                                                                LEAD ATTORNEY
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                              Brian S. Cromwell
                                                              Parker Poe Adams & Bernstein LLP
                                                              Bank of America Tower
                                                              620 South Tryon Street, Suite 800
                                                              Charlotte, NC 28202
                                                              704−335−9511
                                                              Fax: 704−334−4706
                                                              Email: briancromwell@parkerpoe.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Eric Altman Frick
                                                              Parker Poe Adams & Berstein, LLP
                                                              Bank of America Tower
                                                              620 South Tryon Street, Suite 800
                                                              Charlotte, NC 28202
                                                              United Sta
                                                              704−335−9083
                                                              Fax: 704−334−4706
                                                              Email: ericfrick@parkerpoe.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Ralph J. Caccia
                                                              Wiley Rein
                                                              1776 K Street, NW
                                                              Washington, DC 20006
               Case: 1:22-cv-00284-MRB Doc #: 70 Filed: 05/24/22 Page: 3 of 7 PAGEID #: 852
                                                                          202−719−7242
                                                                          Fax: 202−719−7049
                                                                          Email: rcaccia@wiley.law
                                                                          LEAD ATTORNEY
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

Defendant
St. Helena Hospital                                       represented by Daniel DeCederfelt Adams
                                                                         Brooks Pierce McLendon Humphrey & Leonard
                                                                         LLP
                                                                         230 N. Elm Street
                                                                         Greensboro
                                                                         Greensboro, NC 27401
                                                                         336−271−3109
                                                                         Fax: 336−232−9109
                                                                         Email: dadams@brookspierce.com
                                                                         ATTORNEY TO BE NOTICED

Defendant
Adventist Health                                          represented by Daniel DeCederfelt Adams
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED


 Date Filed        #    Docket Text

 01/10/2017        Ï1   COMPLAINT against Adventist Health, Atricure, Inc., St. Helena Hospital ( Filing fee $ 400
                        receipt number CHD040053), filed by John Doe.(jlk) Modified filed date on 1/11/2017 (rth).
                        (Entered: 01/11/2017)

 10/04/2019    Ï 18     NOTICE of Change of Address by Charles H. Rabon, Jr (Attachments: # 1 Cover Letter, # 2
                        Envelope)(brj) (Entered: 10/04/2019)

 06/04/2020    Ï 24     AMENDED COMPLAINT with Jury Demand against Adventist Health, AtriCure, Inc., St. Helena
                        Hospital, filed by John Doe.(clc) (Entered: 06/04/2020)

 12/30/2020    Ï 28     SECOND AMENDED COMPLAINT with Jury Demand against Adventist Health, AtriCure, Inc.,
                        St. Helena Hospital, filed by John Doe.(mga) (Entered: 12/30/2020)

 03/15/2021    Ï 29     NOTICE of Election to Decline Intervention and Motion to Unseal Complaint by United States of
                        America (Attachments: # 1 Proposed Order)(Armstrong, Katherine) Modified on 3/17/2021 (clc).
                        (Entered: 03/15/2021)

 03/17/2021    Ï 30     ORDER granting 29 Motion to Unseal Case. The Complaint (Doc. No. 1) the Amended
                        Complaint (Doc. No. 24), the Second Amended Complaint (Doc. No. 28), the Governments
                        Notice of Election to Decline Intervention and Motion to Unseal Complaint (Doc. No. 29), and
                        this Order be unsealed;2. All other current papers on file with the Court in this action remain
                        under seal and will not be made public or served upon the Defendants. In accordance with the
                        terms of the Maryland False Health Claims Act, Md. Code Ann., Health Gen, § 2−604 (a)(7),
                        the State of Maryland having declined to intervene in this matter, all claims asserted on behalf
                        of Maryland are hereby dismissed without prejudice. Signed by District Judge Frank D.
                        Whitney on 3/17/21. (clc) (Entered: 03/17/2021)

 05/14/2021    Ï 31
             Case: 1:22-cv-00284-MRB Doc #: 70 Filed: 05/24/22 Page: 4 of 7 PAGEID #: 853
                    Summons Issued Electronically as to Adventist Health, AtriCure, Inc., St. Helena Hospital.
                    NOTICE: Counsel shall print the summons and serve with other case opening documents in
                    accordance with Fed.R.Civ.P.4 . (Attachments: # 1 Summons, # 2 Summons)(eef) (Entered:
                    05/14/2021)

06/11/2021   Ï 32   WAIVER OF SERVICE Returned Executed by John Doe. AtriCure, Inc. waiver sent on 6/10/2021,
                    answer due 8/9/2021. (Rabon, Charles) (Entered: 06/11/2021)

06/11/2021   Ï 33   WAIVER OF SERVICE Returned Executed by John Doe. Adventist Health waiver sent on
                    6/10/2021, answer due 8/9/2021. (Rabon, Charles) (Entered: 06/11/2021)

06/11/2021   Ï 34   WAIVER OF SERVICE Returned Executed by John Doe. St. Helena Hospital waiver sent on
                    6/10/2021, answer due 8/9/2021. (Rabon, Charles) (Entered: 06/11/2021)

06/15/2021   Ï 35   NOTICE of Appearance by James Avery Roberts, III on behalf of John Doe (Roberts, James)
                    (Entered: 06/15/2021)

06/15/2021   Ï 36   NOTICE of Appearance by Matthew D. Quinn on behalf of John Doe (Quinn, Matthew) (Entered:
                    06/15/2021)

06/28/2021   Ï 37   NOTICE of Appearance by Brian S. Cromwell on behalf of AtriCure, Inc. (Cromwell, Brian)
                    (Entered: 06/28/2021)

06/28/2021   Ï 38   NOTICE of Appearance by Eric Altman Frick on behalf of AtriCure, Inc. (Frick, Eric) (Entered:
                    06/28/2021)

06/29/2021     Ï    Case reassigned to District Judge Max O. Cogburn, Jr. Chief Judge Frank D. Whitney no longer
                    assigned to the case due to conflict. This is your only notice − you will not receive a separate
                    document.(thh) (Entered: 06/29/2021)

07/01/2021   Ï 39   Notice of Substitution of Counsel by James B. Gatehouse on behalf of United States of America,
                    Attorney Katherine Tenfelde Armstrong terminated. (Gatehouse, James) (Entered: 07/01/2021)

07/07/2021   Ï 40   NOTICE of Appearance by Daniel DeCederfelt Adams on behalf of Adventist Health, St. Helena
                    Hospital (Adams, Daniel) (Entered: 07/07/2021)

07/07/2021   Ï 41   Corporate Disclosure Statement by Adventist Health (Adams, Daniel) (Entered: 07/07/2021)

07/07/2021   Ï 42   Corporate Disclosure Statement by St. Helena Hospital (Adams, Daniel) (Entered: 07/07/2021)

07/12/2021   Ï 43   MOTION for Leave to Appear Pro Hac Vice as to Ralph J. Caccia Filing fee $ 288, receipt number
                    0419−5113783. by AtriCure, Inc.. (Cromwell, Brian). Motions referred to David S. Cayer. (Entered:
                    07/12/2021)

07/12/2021   Ï 44   MOTION for Leave to Appear Pro Hac Vice as to Brandon J. Moss Filing fee $ 288, receipt number
                    0419−5113788. by AtriCure, Inc.. (Cromwell, Brian). Motions referred to David S. Cayer. (Entered:
                    07/12/2021)

07/13/2021   Ï 45   ORDER granting 43 Motion for Leave to Appear Pro Hac Vice added Ralph J. Caccia for
                    AtriCure, Inc. and granting 44 Motion for Leave to Appear Pro Hac Vice added Brandon J.
                    Moss for AtriCure, Inc. (Pro Hac Vice Attorneys served via NEF). Signed by Magistrate Judge
                    David S. Cayer on 7/13/2021. (mek) (Entered: 07/13/2021)

07/13/2021     Ï    Notice to Ralph J. Caccia: Pursuant to Local Rule 83.1 you are required to Register for ECF
                    Account Application Link. (Attorney served via NEF) Deadline by 7/20/2021. (mek) (Entered:
                    07/13/2021)

07/13/2021     Ï    Notice to Brandon J. Moss: Pursuant to Local Rule 83.1 you are required to Register for ECF
                    Account Application Link. (Attorney served via NEF) Deadline by 7/20/2021. (mek) (Entered:
             Case: 1:22-cv-00284-MRB Doc #: 70 Filed: 05/24/22 Page: 5 of 7 PAGEID #: 854
                    07/13/2021)

07/13/2021   Ï 46   MOTION for Leave to Appear Pro Hac Vice as to Ross Brooks Filing fee $ 288, receipt number
                    0419−5115772. by John Doe. (Rabon, Charles). Motions referred to David S. Cayer. (Entered:
                    07/13/2021)

07/13/2021   Ï 47   MOTION for Leave to Appear Pro Hac Vice as to Sally Blinken Filing fee $ 288, receipt number
                    0419−5115780. by John Doe. (Rabon, Charles). Motions referred to David S. Cayer. (Entered:
                    07/13/2021)

07/14/2021   Ï 48   ORDER granting 46 Motion for Leave to Appear Pro Hac Vice added Ross Brooks for John
                    Doe; granting 47 Motion for Leave to Appear Pro Hac Vice added Sally Blinken for John Doe
                    (Pro Hac Vice Attorneys served via NEF). Signed by Magistrate Judge David S. Cayer on
                    7/14/2021. (mek) (Entered: 07/14/2021)

07/14/2021     Ï    Notice to Ross Brooks: Pursuant to Local Rule 83.1 you are required to Register for ECF Account
                    Application Link. (Attorney served via NEF) Deadline by 7/21/2021. (mek) (Entered: 07/14/2021)

07/14/2021     Ï    Notice to Sally Blinken: Pursuant to Local Rule 83.1 you are required to Register for ECF Account
                    Application Link. (Attorney served via NEF) Deadline by 7/21/2021. (mek) (Entered: 07/14/2021)

08/06/2021   Ï 49   NOTICE of Change in Case Caption Under Rule 17 by John Doe (Quinn, Matthew) (Entered:
                    08/06/2021)

08/06/2021   Ï 50   NOTICE of Consent to the Filing of Third Amended Complaint and Joint Motion for Extension of
                    Time to Respond Thereto by John Doe (Attachments: # 1 Proposed Order)(Quinn, Matthew)
                    Modified to change event to a Motion on 8/9/2021 (ams). (Entered: 08/06/2021)

08/06/2021   Ï 51   AMENDED COMPLAINT (Third) with Jury Demand against All Defendants, filed by John
                    Doe.(Quinn, Matthew) (Entered: 08/06/2021)

08/09/2021   Ï 52   ORDER granting 50 Motion for Extension of Time to Answer Defendants shall have through
                    and including October 5, 2021, in which to answer or otherwise plead. Signed by District
                    Judge Max O. Cogburn, Jr on 8/9/2021. (ams) (Entered: 08/09/2021)

09/03/2021   Ï 53   MOTION to Change Venue by AtriCure, Inc.. Responses due by 9/17/2021 (Cromwell, Brian).
                    Motions referred to David S. Cayer. (Entered: 09/03/2021)

09/03/2021   Ï 54   MEMORANDUM in Support re 53 MOTION to Change Venue by AtriCure, Inc.. (Attachments: #
                    1 Exhibit A − Decl. of Carrel)(Cromwell, Brian) (Entered: 09/03/2021)

09/03/2021   Ï 55   MOTION to Stay by AtriCure, Inc.. Responses due by 9/17/2021 (Cromwell, Brian). Motions
                    referred to David S. Cayer. (Entered: 09/03/2021)

09/03/2021   Ï 56   MEMORANDUM in Support re 55 MOTION to Stay by AtriCure, Inc.. (Cromwell, Brian)
                    (Entered: 09/03/2021)

09/10/2021   Ï 57   RESPONSE to Motion re 55 MOTION to Stay by Joel Stevens. Replies due by 9/17/2021 (Rabon,
                    Charles) (Entered: 09/10/2021)

09/10/2021   Ï 58   Consent MOTION for Extension of Time to File Response/Reply re: 53 MOTION to Change Venue
                    by Joel Stevens. Responses due by 9/24/2021 (Attachments: # 1 Proposed Order) (Rabon, Charles).
                    Motions referred to David S. Cayer. (Entered: 09/10/2021)

09/10/2021     Ï    TEXT−ONLY ORDER granting 58 Consent MOTION for Extension of Time to File
                    Response/Reply re: 53 MOTION to Change Venue. Responses due by 10/1/2021. So Ordered.
                    Entered by Magistrate Judge David S. Cayer on 9/10/2021. (DLG) (Entered: 09/10/2021)

09/15/2021   Ï 59
             Case: 1:22-cv-00284-MRB Doc #: 70 Filed: 05/24/22 Page: 6 of 7 PAGEID #: 855
                    REPLY to Response to Motion re 55 MOTION to Stay by AtriCure, Inc.. (Cromwell, Brian)
                    (Entered: 09/15/2021)

09/16/2021     Ï    TEXT−ONLY ORDER granting 55 Motion to Stay Deadline to Answer Third Amended
                    Complaint. Following the Court's ruling on Defendant's Motion to Transfer Venue,
                    Defendant shall answer Third Amended Complaint. If transfer is granted, Answer shall be
                    due thirty days from transfer. If transfer is denied, Defendant shall answer within thirty two
                    days from the Order (the remaining portion of Defendant's initial sixty days to respond). So
                    Ordered. Entered by Magistrate Judge David S. Cayer on 9/16/2021. (DLG) (Entered:
                    09/16/2021)

10/01/2021   Ï 60   MEMORANDUM in Opposition re 53 MOTION to Change Venue by Joel Stevens. Replies due by
                    10/8/2021 (Attachments: # 1 Exhibit 1 − Declaration of Relator Joel Stevens, # 2 Exhibit 2 −
                    Declaration of Matthew Quinn)(Rabon, Charles) (Entered: 10/01/2021)

10/01/2021   Ï 61   Consent MOTION to Seal Document 60 Memorandum in Opposition to Motion, Exhibit F to
                    Relator's Declaration by Joel Stevens. Responses due by 10/15/2021 (Rabon, Charles). Motions
                    referred to David S. Cayer. (Entered: 10/01/2021)

10/01/2021   Ï 62   MEMORANDUM in Support re 61 Consent MOTION to Seal Document 60 Memorandum in
                    Opposition to Motion, Exhibit F to Relator's Declaration by Joel Stevens. (Rabon, Charles)
                    (Entered: 10/01/2021)

10/01/2021   Ï 63   Sealed Document (Sealed − Attorney): Exhibit F to Relator's Declaration re: 61 Consent MOTION
                    to Seal Document 60 Memorandum in Opposition to Motion, Exhibit F to Relator's Declaration, 60
                    Memorandum in Opposition to Motion, by Stevens, Joel; (available to Adventist Health, AtriCure,
                    Inc., St. Helena Hospital, Joel Stevens, United States of America) (Rabon, Charles) (Entered:
                    10/01/2021)

10/02/2021     Ï    TEXT−ONLY ORDER granting 61 Consent MOTION to Seal Document 60 Memorandum in
                    Opposition to Motion, Exhibit F to Relator's Declaration. So Ordered. Entered by Magistrate
                    Judge David S. Cayer on 10/2/2021. (DLG) (Entered: 10/02/2021)

10/08/2021   Ï 64   REPLY to Response to Motion re 53 MOTION to Change Venue by AtriCure, Inc.. (Cromwell,
                    Brian) (Entered: 10/08/2021)

10/12/2021   Ï 65   MEMORANDUM AND ORDER granting 53 Motion to Change Venue; the Clerk is directed
                    to hold the file in this case until fourteen days after service of this Memorandum and Order
                    when the parties' right of appeal to the Honorable Max O. Cogburn, Jr. expires; if no party
                    appeals this Order, then the Clerk is directed to transfer this case to the United States District
                    Court for the Southern District of Ohio. Signed by Magistrate Judge David S. Cayer on
                    10/12/2021. (mek) (Entered: 10/13/2021)

10/27/2021     Ï    Case closed in error and reinstated to active status. (Entered: 10/27/2021)

10/27/2021   Ï 66   APPEAL OF MAGISTRATE JUDGE DECISION to District Court by Joel Stevens re 65 Order on
                    Motion to Change Venue,, (Rabon, Charles) (Entered: 10/27/2021)

10/27/2021   Ï 67   DECLARATION of Ross B. Brooks re 66 Appeal of Magistrate Judge Decision to District Court
                    filed by Joel Stevens (Rabon, Charles) (Entered: 10/27/2021)

10/29/2021     Ï    Set/Reset Deadlines: Responses to 66 Appeal due by 11/10/2021. (ams) (Entered: 10/29/2021)

11/10/2021   Ï 68   MEMORANDUM/BRIEF In Opposition by AtriCure, Inc. re: 66 Appeal of Magistrate Judge
                    Decision to District Court (Cromwell, Brian) (Entered: 11/10/2021)

12/07/2021   Ï 69   Order Affirming Decision of the Magistrate Judge re: 66 Appeal of Magistrate Judge Decision
                    to District Court. The Clerk shall transfer this action to the United States District Court for
             Case: 1:22-cv-00284-MRB Doc #: 70 Filed: 05/24/22 Page: 7 of 7 PAGEID #: 856
                  the Southern District of Ohio. Signed by District Judge Max O. Cogburn, Jr on 12/7/2021.
                  (ams) (Entered: 12/07/2021)

12/07/2021    Ï   Case electronically transferred to Southern District of Ohio. Original electronic file and docket sheet
                  sent. (ams) (Entered: 12/07/2021)
